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NOT FOR PUBLICATION

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY |

 

IGOR VEDERNIKOV,

Plaintiff,
Vv.

ATLANTIC CREDIT & FINANCE, INC. &
MIDLAND FUNDING, LLC,

Defendants.

 

IGOR VEDERNIKOV,

Plaintiff,
Vv.

OLIPHANT FINANCIAL, LLC,

Defendant.

 

 

SHIPP, District Judge

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MEMORANDUM OPINION

Civil Action No. 18-15273 (MAS) (TJB)

Civil Action No. 18-17365 (MAS) (DEA)

This matter comes before the Court upon the Court’s review of the parties’ submissions in

response to the Court’s Order to Show Cause (“OTSC”) in Vedernikov v. Atlantic Credit &

Finance, Inc. & Midland Funding, LLC (Vedernikov I), No. |8-15273 (D.N.J.), and Vedernikov vy.

Oliphant Financial, LLC (Vedernikov ID), No. 18-17365 (D.N.J.). ((Vedernikov I, ECF No. 23;

Vedernikov I, ECF No. 15.) Plaintiff Igor Vedernikov (“Vedernikov”) responded. (Vedernikov

I, ECF No. 24; Vedernikov II, ECF No. 16.) In Vedernikov I, Defendants Atlantic Credit &

Finance, Inc. (“Atlantic Credit”) and Midland Funding, LLC (“Midland”) (collectively,

 
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“Vedernikov | Defendants”) responded. (Vedernikov I, ECF No. 25.)!_ The Court has carefully
considered the parties’ submissions. For the reasons set forth below, Vedernikov Iand Vedernikov
Il are dismissed with prejudice.
Il BACKGROUND |

On October 8, 2018, Vedernikov filed a voluntary Chapter bankruptcy petition in the
United States Bankruptcy Court for the District of New Jersey. (See Bankr. Pet., In re Vedernikov,

No. 18-30011, ECF No. 1 (Bankr. D.N.J.).) Vedernikov’s Chapter 7 parkcapiny petition included

several schedules. (See generally id.) On Schedule A/B: Property, Vedernikov indicated he had

no claims against third parties, however, he also listed a “Potential FDCPA”! Violation Claim

Against an entity collecting on a debt of another” valued at $1,000 under other property interests

(line 53). (dd. at 13, 15.)) Under Schedule C: The Property Kay Claim as Exempt, Plaintiff

claimed multiple exemptions. (Jd. at 16-17.) Vedernikov a a single claim under the
FDCPA valued at $1,000 as exempt. (/d. at 17.)
On October 24, 2018, Plaintiff initiated Vedernikov I by filing a complaint alleging that

Vedernikov I Defendants violated the FDCPA. (Compl., Vedernikov I, ECF No. 1.) On December

18, 2018, Vedernikov initiated Vedernikov II by filing a Complaint alleging Defendant Oliphant

Financial, LLC (“Oliphant”) violated the FDCPA. (Compl., Vedernikov IJ, ECF No. 1.)

 

| In Vedernikov II, Defendant Oliphant Financial, LLC (“Oliphant”) did not file a response to
Vedernikov’s response to the OTSC.

2 The “FDCPA” is the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq.
3 For the parties’ convenience, when citing to documents filed in Jn re Vedernikov, the Court cites

to the page numbers inscribed in the header of the document by the CM/ECF system.

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Vedernikov I and Vedernikov II are presently before the Unilfrsignen however, these are
not the only FDCPA-based lawsuits Vedernikov filed in the District of New Jersey. In fact, after
the initiation of In re Vedernikov, Vedernikov filed six other FDCPA-based lawsuits in this district
and in each of those matters he is represented by the same counsel. On October 23, 2018, Plaintiff
filed suit against LTD Financial Services LP. (Compl., Vedernikov| v. LTD Financial Servs. LP
(Vedernikov III), No. 18-15217 (D.N.J.).) On October 24, 2018, Plaintiff filed suit against
Diversified Consultants Inc. and Absolute Resolutions Investments LLC. (Compl., Vedernikov v.
Diversified Consultants Inc. (Vedernikov IV), No. 18-15275 (D.N.J).) On December 12, 2018,
Plaintiff filed three separates lawsuits naming RGS Financial, Inc.; Sunrise Credit Services Inc.;
and Mercantile Adjustment Bureau as defendants, respectively. (Compl. Vedernikov v. RGS
Financial Inc., No. 18-17353 (D.N.J.); Compl, Vedernikov v. Sunrise Credit Servs., Ine.
(Vedernikov V), No. 18-17363 (D.N.J.); Compl.. Vedernikov v. Mercantile Adjustment Bureau
LLC, No. 18-17364 (D.N.J. Dec. 18, 2018).) On January 30, 2019, Plaintiff filed suit against
Client Services Inc. (Compl., Vedernikov v. Client Servs., Inc., No. 19-02540 (D.N.J. May 15,
2019).) In Vedernikov I, Vedernikov II, and the six other matters Vedernikov filed in this district
(collectively, the “FDCPA Matters”), Vedernikov asserts two FDCPA claims and the action is a
putative class action in which Vedernikov seeks to serve as the lead plaintiff. *

On November 2, 2018, in Vedernikov IV, Vedernikov filed ¢orrespondence stating that the

matter had been settled against all defendants. (Correspondence Vedernikov IV, ECF No. 3.)

 

Vedernikov IV was dismissed with prejudice on December 27, 201 8. (Order, Vedernikov IV, ECF

No. 8.) On January 18, 2019, in Vedernikov V, Plaintiff filed correspondence stating that the matter

 

4 While Vedernikov is represented by the same counsel in the FDCPA Matters, he is represented
by different counsel in Jn re Vedernikov.
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had been settled against the sole defendant. (Correspondence, Vedernikov V, ECF No. 4.) On
March 25, 2019, Vedernikov V was dismissed with prejudice. (Order, Vedernikov V, ECF No. 6.)

On November 20, 2018, in his Bankrontey proceeding, Vedernikov filed an amended
schedule updating his income. (Schedule, Jn re Vedernikov, ECF No. 11.) Vedernikov’s amended
schedule did not disclose that Vedernikov had initiated several FDCP A-based lawsuits after filing
his initial petition. (/d.) On November 27, 2018, Vedernikov filed an additional update to his
petition. (Schedule, /n re Vedernikov, ECF No. 13.) Vedernikov’s additional filing did not

disclose his lawsuits. (See id.)

 

On December 27, 2018, Vedernikov’s Chapter 7 Trustee filed a declaration stating
Vedernikov’s estate had been fully administered and that after a diligent inquiry “there is no
property available for distribution from the estate over and above that exempted by law.” (Dec.

27, 2018 Docket Entry, In re Vedernikov.) The Trustee discharged $80,139 in claims without

 

payment. (/d.) On February 1, 2019, the Bankruptcy Court a Vedernikov’s bankruptcy
petition. (Order, In re Vedernikoyv, ECF Nos. 16, 17.) There is no indication that Vedernikov ever
informed the Bankruptcy Court or the Trustee regarding the existence of the FDCPA Matters, the

claims asserted therein, or the settlements in Vedernikov IV and V.

On January 11, 2019, the Vedernikov I Defendants filed a M tion to Dismiss arguing, inter
alia, that Vedernikov should be judicially estopped from maintaining the action because of his
failure to disclose his FDCPA claims in his bankruptcy schedules. (Defs.’ Moving Br. 4,
Vedernikov I, ECF No. 13.) After Vedernikov failed to file opposition to the motion, the Court
ordered Vedernikov to oppose the motion or the Court would consider the motion unopposed.
(Order, Vedernikov I, ECF No. 19.) On June 19, 2019, Vedernikov filed a Motion to Dismiss

Vedernikov I without prejudice. (Vedernikov I, P1.’s Mot. to Dismiss, ECF No. 20.) On the same
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day, the Vedernikov I Defendants opposed Vedernikov’s motion (Defy, Opp’n, Vedernikov I, ECF
No. 21), and on July 1, 2019, Vedernikov replied (PI.’ Reply. Vedernikov I, ECF No. 22). In his
Reply Brief, Vedernikov states that his delay in opposing the Vedernikov I Defendants’ motion
“was caused by [the] bankruptcy case having all[jready been discharged therefore a simple
amendment could not [be] filed, but rather permission from the Thustee must be sought. It is
important to note that the Plaintiff has enough of *wild card” [exemption] that this claim would
have been exempted from the estate by the Trustee.” (/d.) Vederhikov's Reply Brief does not

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affirmatively state that he has sought permission from the Trustee to amend his filings in Jn re

Vedernikoy. (Id.) |

In Vedernikov II, on March 1, 2019, Oliphant moved for sumamary judgment. (Def.’s Mot.
for Summ. J., Vedernikov II, ECF No. 8.) Vedernikov opposed a's Opp’n Br., Vedernikov II,
ECF No. 13), and Oliphant replied (Def.'s Reply Br., Vedernikov I, ECF No. 14).

On July 19, 2019, after reviewing the dockets in Vedernikov I and JI, and in Jn re
Vedernikov, the Court issued an OTSC requiring Vedernikov to set forth reasons he should not be
judicially estopped from maintaining Vedernikov Iand II. (See of Vedernikov I, ECF No. 23;
OTSC, Vedernikov II, ECF No. 15.) The Court was “cortered by Vedernikov’s failure, as a
debtor, to update his bankruptcy filings to reflect the maintenance of eight individual lawsuits.”
(Ud. at 5.)

On August 2, 2019, Vedernikov responded to the OTSC. (PI.’s Resp.. Vedernikov I, ECF
No. 24; Pl.’s Resp.. Vedernikov II, ECF No. 16.) On August 6, pale, Vedernikov I Defendants

responded to Vedernikov’s response. (Defs.” Resp., ECF No. 25.

 
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Il. DISCUSSION

Vedernikov advances two primary points in response to the OTSC. In relation to
Vedernikov I, he argues that because he and Vedernikov I Defendants Leak dismissal of the matter,
he “will receive no monetary award... .” (PI.’s Resp. 2.) Nedeeniioy states that he “continues
to explore his right to refile [Vedernikov I] and reopen his bankruptcy petition to disclose the same,
should he decide to proceed.” (/d.) He insists that the Court should t “usurp” his option to refile
his claim prior to the expiration of the statute of limitations of the claim. (/d.). In regards to
Vedernikov II, Vedernikoy argues that dismissal is premature because Oliphant’s Motion for
Summary Judgment is pending, and if the Court denies the motion, “it is inevitable that [Oliphant]
will seek leave to appeal” the Court’s decision. (/d.) Thus, it will de “years before [he] actually
receive[s] an award of statutory damages in this matter.” (Jd.) Vedernikov asserts that there is a
“slim” likelihood that he would be awarded the statutory maximum jf $1,000 in damages for his
FDCPA claim and this possibility would leave him within the e100 of possible damages he
claimed in his bankruptcy petition. (U/d. at 3.)

Vedernikov’s response to the OTSC fails to address the Couns concerns. Vedernikov had
an affirmative and ongoing duty to fully disclose all of his assets and liabilities. See 11 U.S.C,

Morgan Stanley Smith Barney LLC, No. 10-6828, 2011 WL 370

§ 521; Danise v. Saxon Mortg. Servs. Inc., 738 F. App’x 47, 50 (3d Cir. 2018); DePasquale v.
110, at *3 (D.N.J. Aug. 23,

2011); Bosco v. C.F.G. Health Sys., No. 04-3517, 2007 WL 1791254, at *3 (D.N.J. June 19, 2007).
Vedernikov’s response to the Court’s OTSC reasserts his misapprehension of his duty to disclose.
By requesting the Court to dismiss his claim without prejudice, V pemakey effectively requests

the Court to allow him to hold potential claims in abeyance until such time as he decides whether

to comply with his statutory duty, which was triggered when he filed his bankruptcy petition and

 
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continued through the discharge of the same. |

Oliphant’s pending motion in Vedernikov II has no eT on Vedernikov’s duty to
disclose. The fact that Vedernikov’s recovery would be limited to the statutory maximum of

$1,000 does not diminish his duty to disclose nor the ramifications of his failure to disclose. In
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reality, the possibility Vedernikov may recover up to the statutory 7 re of $1,000 reinforces
the view that he should have disclosed the other seven lawsuits he filed. A recovery of $1,000 in
each of the lawsuits he brought would have resulted in $8,000 in page eight times the amount
Vedernikov disclosed. The Court notes that Vedernikov settled Vetlernikov IV and Vedernikov V

on terms which were not disclosed to the Court. Assuming Vedernikov received any funds as part

of those settlements, he likely should have disclosed that to his Trustee and those funds may exceed
the $1,000 claim he listed in his bankruptcy petition.

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Vedernikov’s response to the OTSC also fails to address the factors the Court must assess

when considering judicial estoppel. While the Court did not cite aoe three factors in the OTSC,

several of the opinions the Court cited in the OTSC enumerate and analyze these three factors.

(See OTSC 4-5 (citing Danise, 738 F. App’x at 50; Clark v. Strober-Haddonfield Grp., Inc.,

No. 07-910, 2008 WL 2945972 (D.N.J. July 29, 2008) and other cases).) The Court addresses

these three factors below.

A. Legal Standard for Application of Judicial Estappel
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Judicial estoppel is a fact-specific, equitable doctrine, applied at a court’s discretion. New

Hampshire v. Maine, 532 U.S. 742, 749 (2001). Under the doctrine of judicial estoppel, “a

plaintiff, who has obtained relief from an adversary by asserting d nd offering proof to support one

position, may not be heard later in the same court to contradict himself in an effort to establish

against the same adversary a second claim inconsistent with his [or her] earlier contention.”

 
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Krystal Cadillac-Oldsmobile GMC Truck, Inc. v. Gen. Motors Corp.

337 F.3d 314, 319 (3d Cir.

2003) (citing Scarano v. Cent. RR. Co. of N.J., 203 F.2d 510, 513 (3d Cir. 1953)). The “doctrine

of judicial estoppel frequently arises in the context of a failure to

list a claim as an asset in a

bankruptcy, and the inconsistent pursuit of an undisclosed claim.” Clark, 2008 WL 2945972, at

*2 (citations omitted).

The Third Circuit has identified three criteria for determini

applies:

First, the party to be estopped must have taken two po
irreconcilably inconsistent. Second, judicial
unwarranted unless the party changed his or her po

ng whether judicial estoppel

sitions that are
estoppel is
sition “in bad

faith—i.e., with intent to play fast and loose with the court.” Finally,

a district court may not employ judicial estoppel unles

s it is “tailored

to address the harm identified” and no lesser sanction would

adequately remedy the damage done by the litigant’s

Krystal, 337 F.3d at 319 (quoting Montrose Med. Grp. Participating
773, 779 (3d Cir. 2001)); accord Danise, 738 F. App’x at 50.

B. Vedernikov has Taken Inconsistent Positions

misconduct.

Sav. Plan y. Bulger, 243 F.3d

Judicial estoppel may apply where the party to be estopped has taken two positions that are

“irreconcilably inconsistent.” Montrose, 243 F.3d at 779 (citing Rva

n Operations G.P. v. Santiam-

Midwest Lumber Co., 81 F.3d 355, 361 (3d Cir. 1996)). The bankruptcy code imposes on debtors

“an ongoing, affirmative duty to disclose contingent assets to the
Carlini, No. 10-6132, 2013 WL 3811642, at *8 (D.N.J. July 22,20]
11 U.S.C. § 521(a)(1) (listing debtors’ duties). If a debtor has

confirmation to suggest that a possible claim exists, then it is 4

bankruptcy court.” Coles v.
3) (citations omitted); see also
enough information prior to

“known” claim that must be

disclosed in the bankruptcy petition. See Krystal, 337 F.3d at 323 (citation omitted).

In In re Vedernikov, Vedernikov represented that he wa

s aware of a single potential

 
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FDCPA claim valued at $1,000. In each of the eight lawsuits comprising the FDCPA Matters,

Vedernikov asserted that he had two claims pursuant to the FDCPA. Moreover, despite filing an
amended schedule and an additional filing, Vedernikov did not inform the Bankruptcy Court or
his Trustee about his FDCPA claims in excess of the single claim identified in his bankruptcy
petition. In the end, Vedernikov allowed his bankruptcy petition to be discharged without

disclosing that he had numerous additional FDCPA claims. Because Vedernikov maintained in Jn

re Vedernikov that he had one FDCPA claim while bringing eight lawsuits asserting two PDCPA

 

claims in each lawsuit, the Court finds that he has taken inconsistent positions.

ie Vedernikov’s Change in Position was in Bad Faith

“(T]he doctrine of judicial estoppel does not apply ‘when fC prior position was taken
because of a good faith mistake rather than as part of a scheme to uislead the court.’” Ryan, 81
F.3d at 362 (quoting Konstantinidis v. Chen, 626 F.2d 933, 939 (D.C. Cir. 1980)). “[A] rebuttable
inference of bad faith arises when averments in the pleadings demonstrate both knowledge of a
claim and a motive to conceal that claim in the face of an affirmative duty to disclose.” Krystal,
337 F.3d at 321 (citing Oneida Motor Freight, Inc. v. United Jersey Bank, 848 F.2d 414, 416-18
(3d Cir. 1988)). “If a debtor has enough information prior to confirmation of her [or his]
bankruptcy plan to suggest that a possible claim exists, then it is a ‘known’ claim that must be
disclosed in the bankruptcy petition.” Danise, 738 F. App’x at 51.

The Court finds that an inference of bad faith arises from Vedernikov’s conduct. First, a
comparison of Vedernikov’s bankruptcy petition and additional filings in Jn re Vedernikov against
his filings in the FDCPA Matters reveals that Vedernikov was aware of his claims during the

pendency of his bankruptcy petition. In his bankruptcy petition, Vedernikov lists unsecured claims

asserted by the following creditors, among others: Absolute Resolutions Corp.; Barclays Bank

 
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Delaware; Midland; Oliphant Financial; and SYNCB/PC Richard. (Bankr. Pet. 20-24, In re
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Vedernikov.) In Vedernikov I, Vedernikov complains of a July 24, - 8 collection letter sent by
Atlantic Credit attempting to collect a debt on behalf of Midland in regard to a debt Plaintiff
incurred to Synchrony Bank for a PC Richard account. (Compl. {| 24-30, Vedernikov I.) In
Vedernikov II, Vedernikov complains of an April 23,2018 collection letter sent by Oliphant.
(Compl. ff 25-27, Vedernikov IT.) In Vedernikov II, Vedernikov complains of an August 10, 2018
collection letter sent by LTD Financial Services, L.P. on behalf of Barclays Bank. (Compl.
{§| 22-28, Vedernikov III.) In Vedernikov IV, Vedernikov complains of a July 11, 2018 collection
letter sent by Diversified Consultants, Inc. on behalf of Absolute Resolutions Investments LLC,
the subsequent owner of a debt Plaintiff incurred to WebBank.> (Compl. §§ 23-29, Vedernikov
IV.) In each instance, Vedernikov’s bankruptcy petition indicated that he had knowledge of the
claim being asserted against him, yet he filed lawsuits related to the collection efforts of those
debts without ever mentioning those lawsuits in his bankruptcy proceeding. The Court,
accordingly, finds Vedernikov had knowledge of the claims asserted in the FDCPA Matters while
his bankruptcy petition was pending.

“[A] person seeking to discharge his [or her] debts in bankruptcy [has] a motive to conceal
potential assets... .” Clark, 2008 WL 2945972, at *3. By shielding the FDCPA Matters from

the bankruptcy court, Vedernikov secured a benefit for himself in the bankruptcy proceeding while

attempting to protect his interests in the FDCPA Matters. Such behavior runs afoul of

 

> In his bankruptcy petition, Vedernikov lists a $736.00 claim by Absolute Resolutions Corp.
(Bankr. Pet. 20, Jn re Vedernikov.) WVedernikov attached correspondence from Diversified
Consultants, Inc. to his complaint in Vedernikov IV, and the correspondence reflects a debt of
$736.85 owed to Absolute Resolutions Investments, LLC. (Ex. A., Vedernikov IV, ECF No. 1-2.)
Based on the similarity in the amount of the debt, the Court assumes Absolute Resolutions Corp.
and Absolute Resolutions Investments, LLC are one in the same.

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Vedernikov’s duties as a debtor and threatens the integrity of the bankruptcy process.

Vedernikov’s response to the OTSC shows that he fails to comprehend his duty to disclose and

would like the Court to simply wait until he decides if he is going to comply with the Bankruptcy

Code. This position “‘assault[s] the dignity or authority of’ the Court and the Bankruptcy Court.

Montrose, 243 F.3d at 781. Finally, the Court notes that in early January 2019, Vedernikov I

Defendants filed their Motion to Dismiss arguing the Court should apply judicial estoppel. There

is no indication that since the specter of judicial estoppel was first raised—seven months ago—

that Vedernikov has taken any affirmative action to ensure his conduct was consistent.

D. No Lesser Sanction is Appropriate

The doctrine of judicial estoppel is “an extraordinary remedy to be invoked when a party’s

inconsistent behavior will otherwise result in a miscarriage of justice.” Ryan, 81 F.3d at 365

(citations and internal quotation marks omitted). A district court may not employ judicial estoppel

unless it is “tailored to address the harm identified and no lesser sanction would adequately remedy

the damage done by the litigant’s misconduct.” Montrose, 243 F.3d at 779-80 (internal quotation

marks omitted). Although seemingly broad, judicial estoppel is not intended to eliminate any

slight or inadvertent inconsistency in a litigant’s position; instead, it is reserved for the most

egregious cases. Krystal, 337 F.3d at 319.

The Court finds no lesser sanction is appropriate. Vedern

ikov had knowledge of his

FDCPA claims during the pendency of his bankruptcy petition yet maintained that he only had one

such claim. Shielding his suits from the Trustee may have conferre

while denying his creditors the benefit of any recovery he secured

recovery. The Court cannot ignore the perversity of Vedernikov ¢

certain creditors while he was pursuing FDCPA claims against the san

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da benefit upon Vedernikov
via settlement or in a future
lischarging debt he owed to

ne creditors for their attempts

 
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to collect the debt he owed. Tolerating Vedernikov’s behavior would send a message to others

that “a debtor should consider disclosing potential assets only if he is caught concealing them.”
Krystal, 337 F.3d at 325 (citing Burnes v. Pemco Aeroplex, Inc., 29\ F.3d 1282, 1288 (11th Cir.
2002)). “Dismissal is necessary to prevent [Vedernikov] from profiting from [his] omission[s]. It
is also ‘required to preserve the integrity of the [bankruptcy] proceedings.”” Jd. (quoting Oneida,
848 F.2d at 418).
Ill. CONCLUSION
For the reasons set forth above, the Court finds that Vedernikov is judicially estopped from
maintaining Vedernikov I and Vedernikov II. The Court, accordingly, dismisses those matters with
prejudice. An order consistent with this Memorandum Opinion will be entered.
s/Michael A. Shipp

MICHAEL A. SHIPP
UNITED STATES DISTRICT JUDGE

Dated: August 30, 2019

 
